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                                No. 22-50048


                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
                       _________________________

                    UNITED STATES OF AMERICA,
                          Plaintiff-Appellee,

                                      v.

                    STEVEN DUARTE, AKA Shorty,
                         Defendant–Appellant.
                      _________________________

          On Appeal from the United States District Court for the
             Central District of California, No. 2:20-CR-387
                        (Hon. André Birotte, Jr.)
                      _________________________

  SUPPLEMENTAL EN BANC BRIEF FOR THE UNITED STATES
               _________________________

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          INTRODUCTION AND SUMMARY OF ARGUMENT
      A panel of this Court held that 18 U.S.C. § 922(g)(1) violates the Second

Amendment as applied to Steven Duarte, a five-time felon, who forfeited his

constitutional challenge below. After granting rehearing en banc, the Court

requested supplemental briefing addressing (1) the impact of United States v.

Rahimi, 144 S. Ct. 1889 (2024), on this case and (2) whether this case should be

remanded to the district court for further proceedings.

      1. Rahimi supports the government’s contention that § 922(g)(1) is

constitutional as applied to Duarte. Rahimi explained that the Court’s recent

Second Amendment decisions “were not meant to suggest a law trapped in

amber,” and it emphasized that a modern regulation “must comport with the

principles underlying the Second Amendment, but it need not be a ‘dead

ringer’ or a ‘historical twin.’” Rahimi, 144 S. Ct. at 1897-98. Although Rahimi

addressed a statute that prohibited firearm possession by those judicially found

to threaten others, the Court made clear that its opinion does “not suggest that

the Second Amendment prohibits the enactment of laws banning the

possession of guns by categories of persons thought by a legislature to present a

special danger of misuse.” Id. at 1901. And the Court reiterated that laws

prohibiting possession of firearms by felons are “presumptively lawful.” Id. at

1901-02. In short, Rahimi indicates that this Court’s pre-Bruen precedent

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upholding § 922(g)(1) is still good law, and it shows that § 922(g)(1) is

constitutional—and at the very least not clearly or obviously

unconstitutional—as applied to Duarte.

      2. This Court should not remand this case for further proceedings before

reaching the merits. This Court can decide the case based on the legal and

historical authorities adduced by the parties. And because Duarte failed to

preserve his Second Amendment claim in the district court, his claim is subject

to plain-error review under Federal Rule of Criminal Procedure 52(b).

Remanding for Duarte to develop additional facts or arguments would

improperly circumvent Rule 52(b)’s plain-error rule.

                                 ARGUMENT

I.    Rahimi Supports the Government’s Argument that § 922(g)(1) Is
      Constitutional As Applied to Duarte.
      Although Rahimi addressed a different provision, several aspects of its

analysis support the government’s view that § 922(g)(1) is constitutional in all

its applications, including as applied to Duarte. At the very least, Rahimi

demonstrates that Duarte cannot establish any “clear or obvious”

constitutional error, as he must to prevail on plain-error review. Puckett v.

United States, 556 U.S. 129, 135 (2009).




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      A.     In upholding 18 U.S.C. § 922(g)(8), Rahimi clarified the
             analytical framework governing Second Amendment challenges.

      In District of Columbia v. Heller, 554 U.S. 570 (2008), the Supreme Court

held that the Second Amendment protects an individual right to possess

firearms. In New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 19

(2022), the Court clarified that when a firearm regulation is challenged under

the Second Amendment, courts must rely on “the Second Amendment’s text,

as informed by history.” If the “plain text” of the Amendment “covers an

individual’s conduct,” the regulation must be “consistent with this Nation’s

historical tradition of firearm regulation.” Id. at 17.

      In United States v. Rahimi, 144 S. Ct. 1889 (2024), the Supreme Court

applied this historical-tradition test to uphold 18 U.S.C. § 922(g)(8), which

prohibits the possession of firearms by individuals subject to certain domestic

violence restraining orders. The Court explained that, since Bruen, “some

courts have misunderstood the methodology of our recent Second Amendment

cases,” which “were not meant to suggest a law trapped in amber.” Id. at

1897. The Court emphasized that “the appropriate analysis involves

considering whether the challenged regulation is consistent with the principles

that underpin our regulatory tradition,” id. at 1898, and that those principles

“permit[] more than just those regulations identical to ones that could be found

in 1791,” id. at 1897-98. Section 922(g)(8), the Court held, is consistent with
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the following historical principle: “[w]hen an individual poses a clear threat of

physical violence to another, the threatening individual may be disarmed.” Id.

at 1901.

      As evidence of that historical principle, the Court relied upon “two

distinct legal regimes,” “[t]aken together”: surety laws, which authorized

magistrates to “require individuals suspected of future misbehavior to post a

bond,” and “going armed” laws, which “provided a mechanism for punishing

those who had menaced others with firearms.” Rahimi, 144 S. Ct. at 1899-

1901. The Court recognized that § 922(g)(8) is “by no means identical to these

founding era regimes” but held that “it does not need to be.” Id. at 1901.

Instead, it was sufficient that the prohibition “is ‘relevantly similar’” to

historical laws “in both why and how it burdens the Second Amendment

right.” Id. (quoting Bruen, 597 U.S. at 29). As to why, both the modern law

and its historical antecedents regulate “individuals found to threaten the

physical safety of another.” Id. As to how, surety and going armed laws, like

Section 922(g)(8), “involved judicial determinations of whether a particular

defendant likely would threaten or had threatened another with a weapon.”

Id. at 1902.




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      B.    Section 922(g)(1) is constitutional under the analysis required by
            Rahimi.

      As explained in the government’s answering brief, § 922(g)(1) is

consistent with the Second Amendment as a matter of precedent, text, and

history.

      Precedent. This Court’s decision in United States v. Vongxay, 594 F.3d

1111 (9th Cir. 2010), correctly held that Heller’s statements that it was not

calling into question “presumptively lawful” firearms laws such as

“longstanding prohibitions on the possession of firearms by felons” were not

“dicta” but were “integral” to Heller’s holding, id. at 1115 (quotation omitted).

Nothing in Bruen or Rahimi calls Vongxay’s analysis into question. To the

contrary, Rahimi reiterated that “many” prohibitions on in-home firearm

possession, “like those on the possession of firearms by ‘felons and the

mentally ill,’ are ‘presumptively lawful.’” Rahimi, 144 S. Ct. at 1902 (quoting

Heller, 554 U.S. at 626-27 & n.26). Thus, the panel erred in reevaluating

Section 922(g)(1)’s constitutionality rather than applying Vongxay.

      Although the en banc Court is not bound by Vongxay, that decision

remains persuasive. And even if this Court determines that Heller’s statements

about felon-dispossession laws were dicta, this Court does “not treat

considered dicta from the Supreme Court lightly,” but “accord[s] it appropriate


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deference.” United States v. Montero-Camargo, 208 F.3d 1122, 1132 n.17 (9th

Cir. 2000) (en banc). That is especially true where, as here, that considered

dicta has appeared in multiple Supreme Court opinions over the course of two

decades. See Rahimi, 144 S. Ct. at 1902; Bruen, 597 U.S. at 81 (Kavanaugh, J.,

concurring); McDonald v. City of Chicago, 561 U.S. 742, 786 (2010) (plurality

opinion). Appropriate deference means rejecting Duarte’s plain-error

challenge to § 922(g)(1)’s presumptively lawful prohibition.

      Text. As a textual matter, felons are not part of “the people” because

they are not “members of the political community” who possess Second

Amendment rights. Heller, 554 U.S. at 580. Rahimi did not address this

question, but the government maintains that felons are not part of the political

community, as they have long been excluded from exercising important civic

rights such as voting and holding elective office. See Gov’t Answering Br. 29-

31.

      History. Section 922(g)(1) is also consistent with America’s historical

tradition, which reflects two at least relevant principles: (1) legislatures may

disarm persons who have been convicted of serious crimes and (2) legislatures

may disarm “categories of persons thought by a legislature to present a special

danger of misuse.” Rahimi, 144 S. Ct. at 1901. Several types of historical

evidence, “[t]aken together,” support these principles. Id.

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      First, “death was the standard penalty for all serious crimes at the time of

the founding,” Bucklew v. Precythe, 587 U.S. 119, 129 (2019) (quotation

omitted), and estate forfeiture was likewise a common felony punishment, see

Gov’t Answering Br. 34-39. Duarte and the panel decision question that

proposition, relying on an 1823 treatise that discussed the available

punishments (under federal law) more than three decades after the founding.

See Supp. Br. 25; United States v. Duarte, 101 F.4th 657, 689 (9th Cir. 2024)

(quoting 6 Nathan Dane, Digest of American Law 715 (1823)). That treatise does

not address the many laws from the 1780s and 1790s cited by the government.

Nor does it matter that, as the panel pointed out, states began to move away

from capital punishment for many felonies in the decades after the founding.

See Duarte, 101 F.4th at 689 n.15. The drafters and ratifiers of the Second

Amendment understood that felonies could be punished by death, regardless of

whether they were always so punished.

      Rahimi supports the view that modern felons can be disarmed because

felons historically were subject to the even greater penalties of death and estate

forfeiture. See Gov’t Answering Br. 38-39. In analogizing § 922(g)(8) to

historical “going armed” laws, Rahimi reasoned: “if imprisonment was

permissible to respond to the use of guns to threaten the physical safety of

others, then the lesser restriction of temporary disarmament that Section

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922(g)(8) imposes is also permissible.” Rahimi, 144 S. Ct. at 1902. Likewise,

the greater founding-era penalties of death or estate forfeiture justify the lesser

modern restriction of a ban on firearm possession.

      Second, some founding-era laws specifically disarmed those convicted of

non-capital crimes. Because death was a standard penalty, founding-era

legislatures had little occasion to consider disarming convicted criminals who

were not executed. But the legislative power to do so was understood, as

evidenced by laws from several colonies providing that a person would “be

disarmed” upon conviction for offenses such as furnishing provisions to the

British army, bearing arms against the colonies, opposing the Continental

Congress’s authority, or seditious libel.1

      The principle that legislatures could disarm convicted criminals persisted

during the ratification debates, during which Anti-Federalists in Pennsylvania

proposed a bill of rights that would have prohibited “disarming the people, or

any of them, unless for crimes committed, or real danger of public injury from




      1
         See Resolution of Sept. 1, 1775, in 1 Journals of the Provincial Congress,
Provincial Convention, Committee of Safety and Council of Safety of the State of New-
York 132 (1842); Resolution of Mar. 13, 1776, in Journal of the Provincial
Congress of South Carolina, 1776, at 77 (1776); Resolution of July 25-26, 1776, in
1 American Archives: Fifth Series 587 (Peter Force ed., 1843); Act of Dec. 1775, in
The Public Records of the Colony of Connecticut From May, 1775 to June 1776,
inclusive 193 (Charles J. Hoadly ed., 1890).
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individuals.” 2 The Documentary History of the Ratification of the Constitution 598

(Merrill Jensen ed., 1976) (emphasis added). Although not ultimately adopted

in the Bill of Rights, this minority proposal was “highly influential,” Heller, 554

U.S. at 604, and it reflects a shared understanding that disarming those

convicted of crimes was consistent with the “pre-existing right” codified in the

Second Amendment, id. at 592 (emphasis omitted).

      Third, consistent with the historical understanding, legislatures in the

1920s began prohibiting the possession or purchase of handguns by all felons2

or by felons convicted of crimes against a person or property.3 Congress

followed suit, enacting in 1938 a nationwide prohibition on firearm receipt by

any person with a conviction for a crime of violence, Federal Firearms Act, ch.

850, § 2(d), 52 Stat. 1251, and enacting in the 1960s the current prohibition on

possession of a firearm by anyone convicted of a crime punishable by




      2
       See Act of Mar. 5, 1925, ch. 47, § 2, 1925 Nev. Laws 54; Act of Apr. 29,
1925, ch. 284, § 4, 1925 Mass. Acts 323; Act of June 5, 1925, 1925 W.V. Acts
25-26; Act of June 2, 1927, No. 373, § 2, 1927 Mich. Acts 887-888; Act of June
19, 1931, ch. 1098, § 2, 1931 Cal. Stat. 2316; Act of Jan. 9, 1934, No. 26, § 8,
1933-1934 Haw. Terr. Sess. Laws 39; Act of July 8, 1936, §§ 2-3, 1932 P.R.
Laws 128.
      3
        See Act of March 7, 1923, ch. 266, § 5, 1923 N.D. Laws 380; Act of
May 4, 1923, ch. 119, § 3, 1923 N.H. Laws 138; Act of June 13, 1923, ch. 339,
§ 2, 1923 Cal. Stat. 696; Act of Feb. 26, 1925, ch. 260, § 2, 1925 Or. Gen. Laws
468; Act of Mar. 12, 1925, ch. 207, § 4, 1925 Ind. Laws 495-496.
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imprisonment for a term exceeding one year, see An Act to Strengthen the

Federal Firearms Act, Pub. L. No. 87-342, § 2, 75 Stat. 757 (1961); Gun

Control Act of 1968, Pub. L. No. 90-618, § 102, 82 Stat. 1213, 1220. These

20th-century laws are both “longstanding” and consistent with founding-era

tradition. Heller, 554 U.S. at 626.

      The century-old, nationwide tradition of disarming convicted felons

(including non-violent felons) confirms the correct result in this case.

Although post-ratification evidence cannot overcome clear constitutional text,

“the Framers themselves intended that post-ratification history would shed

light on the meaning of vague constitutional text.” Rahimi, 144 S. Ct. at 1917

(Kavanaugh, J., concurring); see also id. at 1924 (Barrett, J., concurring)

(recognizing that post-ratification history can be “an important tool”). And

the Supreme Court has often relied on post-ratification history, including

history from long after the Founding, in resolving constitutional ambiguities.

See, e.g., City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 75

(2022); see also Rahimi, 144 S. Ct. at 1918-19 (Kavanaugh, J., concurring)

(collecting numerous additional examples).

      Fourth, the United States has a long tradition of disarming persons whose

possession of firearms poses a danger to themselves or others. See United States

v. Perez-Garcia, 96 F.4th 1166, 1185-89 (9th Cir. 2024). Rahimi involved one

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aspect of that tradition: disarming “individual[s] found by a court to pose a

credible threat to the physical safety of another.” Rahimi, 144 S. Ct. at 1903.

Section 922(g)(1) involves another aspect of that tradition: disarmament of

“categories of persons thought by a legislature to present a special danger of

misuse.” Id. at 1901.

      Beyond the Founding-era disarmament laws discussed above, American

legislatures in the 19th century disarmed classes of individuals who posed a

danger of misusing firearms. At least 29 jurisdictions banned or restricted the

sale of firearms to, or the possession of firearms by, individuals below specified

ages. See Brief for the United States, United States v. Rahimi, No. 22-915, 2023

WL 5322645, at *24 & n.16 (collecting citations). Several States banned the

sale of firearms to persons of unsound mind. Id. at *24-25 & n.17. At least a

dozen States disarmed “tramps”—that is, vagrants. Id. at *25 & n.18. And

some States forbade intoxicated persons from buying or carrying firearms. Id.

at *25-26 & n.19.

      State courts upheld those laws, even though the laws did not require an

individualized assessment of danger. The Missouri Supreme Court, for

example, upheld a ban on carrying arms while intoxicated as a “reasonable

regulation” that prevented the “mischief to be apprehended from an

intoxicated person going abroad with fire-arms.” State v. Shelby, 2 S.W. 468,

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469 (1886). And the Ohio Supreme Court explained that a law disarming

“tramps” was consistent with the right to bear arms because that right “was

never intended as a warrant for vicious persons to carry weapons with which to

terrorize others.” State v. Hogan, 58 N.E. 572, 575 (1900).

      Section 922(g)(1) is consistent with that tradition of imposing categorical

limits on the right to keep and bear arms. The Supreme Court has recognized

that persons who have been “convicted of serious crimes,” as a class, can “be

expected to misuse” firearms. Dickerson v. New Banner Institute, Inc., 460 U.S.

103, 119 (1983). And “numerous studies” show a “link between past criminal

conduct and future crime, including gun violence.” Binderup v. Attorney

General, 836 F.3d 336, 400 (3d Cir. 2016) (Fuentes, J., concurring in part and

dissenting in part); see id. at 400 n.160 (collecting studies). Thus, § 922(g)(1)

comports with the historical practice of legislatures that “prohibited possession

by categories of persons based on a conclusion that the category as a whole

presented an unacceptable risk of danger if armed.” United States v. Jackson,

110 F.4th 1120, 1128 (8th Cir. 2024).

      C.     Rahimi underscores several methodological errors in the panel’s
             opinion and Duarte’s arguments.

      The Supreme Court’s analysis in Rahimi corrects several misconceptions

in the panel’s decision, but Duarte’s supplemental brief nonetheless repeats

those errors.
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            1.     Rahimi confirms that the proper focus is on historical
                   principles, not historical twins.

      Rahimi confirms that the Second Amendment analysis does not require a

“granular” comparison of historical analogues, Supp. Br. 14, but instead

focuses on the broader “principles underlying the Second Amendment,”

Rahimi, 144 S. Ct. at 1898. As Justice Barrett explained in concurrence,

“[h]istorical regulations reveal a principle” that can then be applied to modern

regulations. Id. at 1925 (Barrett, J., concurring). One of those “principles

underlying the Second Amendment,” Rahimi determined, is that “[w]hen an

individual poses a clear threat of physical violence to another, the threatening

individual may be disarmed.” Id. at 1898, 1901 (majority opinion). Of course,

“a court must be careful not to read a principle at such a high level of

generality that it waters down the right.” Id. at 1926 (Barrett, J., concurring).

But the appropriate analysis still focuses on broader principles, rather than an

exacting one-to-one comparison.

      Rahimi also cautions against placing undue weight on the absence of

historical firearms regulations on a particular topic. The Second Amendment

“permits more than just those regulations identical to ones that could be found

in 1791.” Rahimi, 144 S. Ct. at 1897-98. As Justice Barrett emphasized, “[t]o

be consistent with historical limits, a challenged regulation need not be an


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updated model of a historical counterpart.” Id. at 1925 (Barrett, J.,

concurring). “[A] test that demands overly specific analogues” would result in

a “‘law trapped in amber’” by “forc[ing] 21st-century regulations to follow late-

18th-century policy choices.” Id. Such a test would also wrongly “assume[]

that founding-era legislatures maximally exercised their power to regulate.” Id.

The Rahimi majority rejected that incorrect view of legislative authority,

holding that “the appropriate analysis involves considering whether the

challenged regulation is consistent with the principles that underpin our

regulatory tradition.” Id. at 1898 (majority opinion).

      Duarte fails to heed this aspect of Rahimi. He points out, for example,

that “[t]here are no founding-era felon-in-possession laws.” Supp. Br. 31; see

Duarte, 101 F.4th at 691 (observing that Duarte’s underlying felon-in-

possession offense was a “nonexistent crime” before the 20th century). In

Rahimi, the defendant and the dissent likewise pointed out that founding-era

legislatures did not address domestic violence through laws prohibiting firearm

possession. Rahimi, 144 S. Ct. at 1939 (Thomas, J., dissenting); Brief for

Respondent, United States v. Rahimi, No. 22-915, 2023 WL 6391053, at *13.

But the Supreme Court held that § 922(g)(8) was constitutional based on

historical surety and “going armed” laws, even though § 922(g)(8) was “by no

means identical to these founding era regimes.” Rahimi, 144 S. Ct. at 1901.

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            2.     Rahimi undermines Duarte’s “how” and “why” analysis.

      Duarte’s attempts to distinguish the “how” and “why” of historical laws

from § 922(g)(1) are irreconcilable with Rahimi. For example, he distinguishes

laws disarming Loyalists on the basis that they were allegedly aimed at

“political threats” and “insurrectionists,” Supp. Br. 11, 19 (quotation omitted),

and allowed dissidents to regain their arms by swearing an oath of allegiance,

Supp. Br. 12-13. And he distinguishes laws punishing felonies with estate

forfeiture and death on the basis that their purpose was “retribution” or

“deterr[ence]” rather than “reducing the generalized risk of firearm violence.”

Supp. Br. 28-29.

      Duarte’s reliance on these distinctions echoes the dissent’s approach in

Rahimi—which eight justices rejected. The Rahimi dissent reasoned that

“affray” (or “going armed”) laws had a different purpose than Section

922(g)(8) because they “captured only conduct affecting the broader public”

instead of seeking to prevent “interpersonal violence in the home.” Rahimi,

144 S. Ct. at 1942 (Thomas, J. dissenting). And it argued that laws targeting

“dangerous” persons “were driven by a justification distinct from that of

§ 922(g)(8)” because the historical laws were concerned with “quashing treason

and rebellion” whereas Section 922(g)(8) is “concerned with preventing

interpersonal violence.” Id. at 1934-35.

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      The Rahimi majority rejected the dissent’s conclusion that “the historical

analogues for Section 922(g)(8) are not sufficiently similar to place that

provision in our historical tradition.” Rahimi, 144 S. Ct. at 1902-03. The

Court said that both the dissent and the Fifth Circuit improperly “read Bruen to

require a ‘historical twin’ rather than a ‘historical analogue.’” Id. at 1903.

Duarte commits the same error. It does not matter that some historical laws

targeted danger from political dissidents, as opposed to danger from armed

felons, or that they might have punished felons for retribution and deterrence,

rather than solely based on generalized safety concerns. What matters is that

historical laws punished felons with severe penalties and disarmed groups that

presented a special danger of misuse.

      Duarte also argues that § 922(g)(1) imposes a different burden than

historical laws because it “permanently disarm[s] nonviolent offenders.” Supp.

Br. 31-32. He contends that “most or all founding-era disarmament laws . . .

contained self-defense or necessity exceptions or other means of restoring the

right.” Supp. Br. 32. But under current law, a felon may regain his right to

bear arms if his conviction “has been expunged[] or set aside” or he has “been

pardoned or has had civil rights restored,” 18 U.S.C. § 921(a)(20)—a feature of

the statute that the panel appears to have overlooked, see Duarte, 101 F.4th at

662 (characterizing § 922(g)(1) as a “no-exception, lifelong ban”). And Rahimi

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makes clear that the government need not point to historical laws imposing an

identical burden on firearm possession. Rahimi, 144 S. Ct. at 1901-02.

Historical laws that disarmed people for various crimes, “[t]aken together”

with the often lifelong (or life-ending) consequences of a felony conviction, id.

at 1901, adequately demonstrate that § 922(g)(1)’s lifetime ban is consistent

with the Second Amendment’s historical understanding.

            3.     Rahimi does not call into question legislative
                   determinations of dangerousness.

      Duarte contends that “Rahimi rejected the government’s attempt to

broadly define legislative authority to regulate firearms,” and established that

“courts cannot simply defer to modern legislatures when Second Amendment

rights are [at] stake.” Supp. Br. 3, 18 (boldface omitted). Duarte is correct that

courts should not blindly defer to legislatures and may properly review a

disqualification’s breadth. See Reply Brief for the United States, United States v.

Rahimi, No. 22-915, 2023 WL 7106695, at *13-14. But Rahimi said it was “not

suggest[ing] that the Second Amendment prohibits the enactment of laws

banning the possession of guns by categories of persons thought by a

legislature to present a special danger of misuse.” Rahimi, 144 S. Ct. at 1901.

Indeed, “[t]hat some categorical limits are proper is part of the original

meaning” of the Second Amendment. United States v. Skoien, 614 F.3d 638,

640 (7th Cir. 2010) (en banc). When 18th- and 19th-century legislatures
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enacted laws categorically disarming loyalists, underage individuals, and

vagrants, they did not require case-by-case findings of dangerousness. Thus,

§ 922(g)(1)’s categorical prohibition on those whose possession “present[s] a

special danger of misuse” is consistent with the historical leeway given to

legislatures. Rahimi, 144 S. Ct. at 1901.

      Moreover, in interpreting other provisions of the Bill of Rights, the

Supreme Court has routinely considered the “maximum authorized penalty”

to “provide[ ] an ‘objective indication of the seriousness with which society

regards the offense.’” Lewis v. United States, 518 U.S. 322, 328 (1996) (brackets

omitted). For example, the Grand Jury Clause applies only to “capital” or

“infamous” crimes, U.S. Const. amend. V, and a crime is “infamous” if it is

punishable by “imprisonment for more than a year,” Branzburg v. Hayes, 408

U.S. 665, 687 n.24 (1972). The Sixth Amendment right to a jury trial similarly

does not extend to petty offenses, and an offense is petty if it is punishable by a

prison term of six months or less. See Blanton v. City of North Las Vegas, 489

U.S. 538, 541-45 (1989). Courts can likewise look to the prescribed

punishment when interpreting the Second Amendment.

      Duarte contends that “a ‘felony’ today is simply not the same thing as a

founding-era ‘felony.’” Supp. Br. 25. To be sure, the standard definition of a

felony has changed, in large part because of the movement toward

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incarceration and away from the death penalty that began in the decades after

the founding. See Folajtar v. Attorney General, 980 F.3d 897, 904-05 (3d Cir.

2020); Stuart Banner, The Death Penalty: An American History 98-100 (2002).

But “even as the term evolved and expanded, felonies continued to reflect the

category of serious crimes.” Folajtar, 980 F.3d at 905. Accordingly, “felonies

were—and remain—the most serious category of crime.” Medina v. Whitaker,

913 F.3d 152, 158 (D.C. Cir. 2019).

      Duarte argues that the government fails to identify “any meaningful

limiting principle for what a modern legislature may designate as a ‘felony.’”

Supp. Br. 25-26. But that is not necessary. Although a legislature could, in

theory, make a minor infraction like jaywalking a felony (Supp. Br. 26), there

are strong systemic and political disincentives to making such minor crimes

felonies. Beyond potentially subjecting jaywalkers to the full statutory

maximum, such a law would, in many states, impact the jaywalker’s rights to

vote, hold public office, and serve on a jury.

      Duarte contends that felons are “not a well-defined group representing

unique or immediate risks of physical harm to others” because approximately

19 million Americans, or 8% of American adults, have been convicted of a

crime punishable by imprisonment for more than one year. Supp. Br. 20. A

prohibition’s breadth is undoubtedly relevant to its constitutionality. See Heller,

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554 U.S. at 593 (founders rejected abuses such as the Stuart Kings’ “general

disarmaments” of whole “regions”). But the primary question is not the bare

number of people affected by a prohibition. Instead, the question is whether

the prohibition is consistent with historical principles—here, whether it targets

a category of people who committed serious crimes or who “present a special

danger of misuse” of firearms. Rahimi, 144 S. Ct. at 1898, 1901. Thus, for

example, prohibitions on firearm possession by the mentally ill, drug addicts,

or underage individuals would not become unconstitutional should those

groups swell in relation to the overall population. As Rahimi emphasized,

“focused regulations” do not implicate the same constitutional concerns raised

by “a broad prohibitory regime” that “severely” restricts arms-bearing by all

citizens. Id. at 1902.

      Duarte also contends that § 922(g)(1) has a particular impact on adult

Black men. Supp. Br. 20. But he has not raised a challenge under the Equal

Protection Clause. And he does not demonstrate how his proposed rule—

limiting § 922(g)(1)’s application to those convicted of “violent” felonies—

would reduce racial or gender disparities. Further, Duarte ignores that “the

consequences of gun violence are borne disproportionately by communities of

color, and Black communities in particular.” Bruen, 597 U.S. at 86 (Breyer, J.,



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dissenting) (citing statistics). As a result, § 922(g)(1) serves to protect members

of those communities.

      Duarte further contends that § 922(g)(1) is “arbitrary” because it is

underinclusive—failing to sweep in some misdemeanors “that appear more

suggestive of potential future violence than most felonies.” Supp. Br. 22. He

points out that some jurisdictions punish some forms of assault as

misdemeanors. Supp. Br. 22 & nn.13-14. But those same statutory schemes

show that most assaults are felonies, see, e.g., Or. Rev. Stat. §§ 163.165, 163.175,

163.185; Alaska Stat. §§ 11.41.200, 11.41.210, 11.41.220. And the fact that

Congress does not disarm all arguably dangerous misdemeanants, but see 18

U.S.C. § 922(g)(9), does not mean Congress lacks the power to do so. Indeed,

the argument that § 922(g)(1) is underinclusive sounds more like an argument

that the statute fails under means-end scrutiny than that it is inconsistent with

the historical tradition.

             4.    Rahimi indicates that the proper focus is not on whether
                   the prior felony offense was “violent.”

      Echoing the panel decision, Duarte contends that § 922(g)(1) cannot

constitutionally be applied to “nonviolent” offenders. Supp. Br. 1-2, 31-32; see

Duarte, 101 F.4th at 661, 676, 679, 683. But there is no basis for limiting the

statute’s application to those whose prior felonies were violent. That limitation


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finds no support in Rahimi, which relied on historical schemes that sought to

“prevent[] violence before it occurred.” Rahimi, 144 S. Ct. at 1900.

      It finds no support in the historical record either. In 1791, various

“nonviolent crimes such as forgery and horse theft were capital offenses.”

Perez-Garcia, 96 F.4th at 1183; see Gov’t Answering Br. 35-39 (counterfeiting

and forgery laws). Similarly, Revolutionary-War era statutes disarmed

dissidents who had not yet engaged in violence. See supra nn.1-2.

      Moreover, many people convicted of nonviolent felonies nevertheless

“present a special danger of misuse” if armed. Rahimi, 144 S. Ct. at 1901.

Many crimes such as “residential burglary and drug dealing are not necessarily

violent” but are nevertheless “dangerous because they often lead to violence.”

Folajtar, 980 F.3d at 922 (Bibas, J., dissenting). And even crimes not usually

associated with violence can potentially demonstrate “a propensity for

dangerous behavior.” Kanter v. Barr, 919 F.3d 437, 469 (7th Cir. 2019)

(Barrett, J., dissenting).

      Duarte wrongly contends that “numerous nonviolent felonies . . .

suggest no proclivity towards violent misuse of firearms.” Supp. Br. 21. In

fact, even nonviolent felonies can be indicative of dangerousness. For

example, a 2021 study found that 82.2% of state prisoners whose most serious

commitment offense was fraud or forgery were re-arrested within ten years of

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release. Bureau of Justice Statistics, Recidivism of Prisoners Released in 24

States in 2008: A 10-Year Follow-Up Period (2008-2018), at 10 (Table 11),

https://bjs.ojp.gov/BJS_PUB/rpr24s0810yfup0818/Web%20content/508%20

compliant%20PDFs. And nearly one third of those prisoners (31.7%) were re-

arrested for a violent offense. Id.

      Duarte himself is poorly placed to contend that his “nonviolent” felonies

do not suggest future violence. His prior convictions include possession of

cocaine base for sale, 4 in violation of Cal. Health & Safety Code § 11351.5;

possession of a firearm by a felon, in violation of Cal. Penal Code

§ 29800(a)(1); and two counts of evading a police officer, in violation of Cal.

Veh. Code § 2800.2. See PSR ¶¶ 34-36. As other circuits have observed,

“offenses relating to drug trafficking . . . are closely related to violent crime.”

United States v. Barton, 633 F.3d 168, 174 (3d Cir. 2011); see United States v.

Torres-Rosario, 658 F.3d 110, 113 (1st Cir. 2011); United States v. Diaz, 864 F.2d

544, 549 (7th Cir. 1988). And offenses such as unlawful possession of a

firearm and evading police can similarly be indicative of dangerousness. See

United States v. Williams, 113 F.4th 637, 662 (6th Cir. 2024) (observing that the



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        The panel decision treated this as a mere “drug possession” offense,
Duarte, 101 F.4th at 691, but the statute requires specific intent to sell drugs or
intent that someone else will sell them, People v. Parra, 70 Cal. App. 4th 222,
227 (Cal. Ct. App. 1999).
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government could “point[] to” a felon-in-possession conviction “to

demonstrate [the defendant’s] dangerousness”). So Duarte cannot show that

his prior convictions “suggest no proclivity toward violent misuse of firearms.”

Supp. Br. 21.

            5.     Rahimi clarifies that the appropriate standard is
                   “relevantly similar,” not “distinctly similar.”

      Rahimi undermines the panel’s (and Duarte’s) view that, because

§ 922(g)(1) addresses a societal problem that has existed since the founding, the

government must point to “distinctly similar” historical regulations. See

Duarte, 101 F.4th at 677, 680, 690; Reply Br. 15-16. The Rahimi majority

applied a “relevantly similar” test, see Rahimi, 144 S. Ct. 1898, 1901, without

first determining whether § 922(g)(8) targets a societal problem that existed at

the founding. And the Court was unpersuaded by the dissent’s assertion,

which Duarte echoes here, that a statute violates the Second Amendment if it

“addresses a societal problem . . . that has persisted since the 18th century”

through “materially different means.” Id. at 1941 (Thomas, J., dissenting)

(quotation omitted).

            6.     Rahimi’s rejection of a “responsible” standard does not
                   cast doubt on § 922(g)(1).

      Duarte contends that Rahimi “contradicts” the government’s arguments

because Rahimi “expressly rejected” the view that Congress can disarm those

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who are not “law-abiding” and “responsible.” Supp. Br. 7 (boldface omitted).

In Rahimi, the government relied on statements in Heller and Bruen to argue

that Congress may disarm those who are not “responsible” or “law-abiding.”

Brief for the United States, United States v. Rahimi, No. 22-915, 2023 WL

5322645, at *11-13. The Supreme Court rejected the “contention that Rahimi

may be disarmed simply because he is not ‘responsible,’” which the Court

considered a “vague term.” Rahimi, 144 S. Ct. at 1903. The Court explained

that Heller and Bruen “used the term ‘responsible’ to describe the class of

ordinary citizens who undoubtedly enjoy the Second Amendment right” but

“said nothing about the status of citizens who were not ‘responsible’” because

“[t]he question was simply not presented.” Id.

      Contrary to Duarte’s contention, Supp. Br. 7-8, 10, Rahimi does not

undermine the government’s arguments in support of § 922(g)(1). Indeed, after

surveying the historical record, Rahimi held that “the Second Amendment

permits the disarmament of individuals who pose a credible threat to the

physical safety of others.” Rahimi, 144 S. Ct. at 1898. And the Court said it

was not casting doubt on the constitutionality of “laws banning the possession

of guns by categories of persons thought by a legislature to present a special

danger of misuse,” id. at 1901, citing Heller’s statements that laws dispossessing

felons and the mentally ill are “presumptively lawful,” Heller, 554 U.S. at 626

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& n.26. Thus, far from contradicting the government’s approach, Rahimi

recognized historically grounded principles quite similar to those the

government advocated.

      D.     At the very least, Rahimi shows that any error was not plain.

      Because Duarte failed to raise a Second Amendment challenge in the

district court, he can obtain relief only by satisfying the plain-error standard.

Fed. R. Crim. P. 52(b). And he cannot show that any constitutional error is

“clear or obvious,” Puckett, 556 U.S. at 135, particularly considering Rahimi’s

reaffirmation that felon-possession prohibitions are “presumptively lawful,”

Rahimi, 144 S. Ct. at 1902, and its statement that the Court was “not

suggest[ing] that the Second Amendment prohibits the enactment of laws

banning the possession of guns by categories of persons thought by a

legislature to present a special danger of misuse,” id. at 1901.

      The Eighth and Eleventh Circuits have held that § 922(g)(1) is

constitutional in all its applications. Jackson, 110 F.4th at 1125; United States v.

Dubois, 94 F.4th 1284, 1293 (11th Cir. 2024). Other courts of appeals have left

the door open for as-applied challenges to § 922(g)(1) but have nevertheless

upheld § 922(g)(1) as applied to a variety of defendants. See United States v.

Diaz, 116 F.4th 458, 467 (5th Cir. 2024); Williams, 113 F.4th at 662; United

States v. Moore, 111 F.4th 266, 272 (3d Cir. 2024); United States v. Gay, 98 F.4th

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843, 847 (7th Cir. 2024). The only decision striking down § 922(g)(1) in any

application—as applied to a civil plaintiff with a 25-year-old conviction for

food stamp fraud—was vacated after Rahimi. Range v. Attorney General, 69

F.4th 96 (3d Cir. 2023) (en banc), vacated, 144 S. Ct. 2706 (2024). Given this

landscape, Duarte cannot show plain error. See United States v. Jones, 88 F.4th

571, 574 (5th Cir. 2023) (per curiam) (concluding, even before Range was

vacated, that the “different conclusions” reached by various circuits “support

the conclusion that this unsettled question is not clear or obvious error”).

II.   This Court Should Not Remand for Further Proceedings.

      The Court should not remand this case for the district court to consider

Duarte’s Second Amendment challenge. It should instead affirm Duarte’s

conviction based on the current factual record. Providing Duarte the benefit of

a remand would be inconsistent with Rule 52(b)’s plain-error standard.

      A.    Because § 922(g)(1) can constitutionally be applied to Duarte
            without further factual development, a remand is unnecessary.

      As explained above, § 922(g)(1) is constitutional in all its applications,

even as applied to nonviolent felons. There is therefore no need for a remand

to inquire into whether Duarte’s prior felony offenses or his firearm possession

in this case were violent. This Court can, and should, affirm on the current

factual record.



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      Nor is there any need for the district court to take a first look at any

historical questions relevant to this case. As explained in a since-vacated

decision, “the historical research required under Bruen involves issues of so-

called ‘legislative facts’—those ‘which have relevance to legal reasoning and

the lawmaking process’ . . . —rather than adjudicative facts, which ‘are simply

the facts of the particular case.’” Teter v. Lopez, 76 F.4th 938, 946-47 (9th Cir.

2023) (quoting Fed. R. Evid. 201, advis. Comm. Note (1972)), vacated on grant

of reh’g en banc, 93 F.4th 1150 (9th Cir. 2024). This Court is well equipped to

resolve § 922(g)(1)’s constitutionality based on the historical sources cited by

the parties.

      B.       A remand would be inconsistent with Rule 52(b)’s plain-error
               standard.

      Contrary to Duarte’s suggestion, Supp. Br. 35, this Court should not

remand to the district court based on an intervening change of law. Although

that might be appropriate for a preserved challenge, it would not be

appropriate for Duarte’s unpreserved challenge, which is subject to Rule

52(b)’s plain-error standard.

               1.   Appellate courts must apply the plain-error standard to
                    unpreserved claims rather than remanding such claims.

      A party’s failure to object “when the court ruling or order is made or

sought,” Fed. R. Crim. P. 51(b), “ordinarily precludes the raising on appeal of

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the unpreserved claim of trial error,” Puckett, 556 U.S. at 135. Rule 52(b)

“recognizes a limited exception,” id., providing that a court may correct “[a]

plain error that affects substantial rights,” Fed. R. Crim. P. 52(b). The

Supreme Court’s decisions make clear that both “error” and “plainness” are

assessed at the time of appellate review. Johnson v. United States, 520 U.S. 461,

467 (1997); Henderson v. United States, 568 U.S. 266, 271, 277 (2013). Thus,

when faced with an unpreserved error, an appellate court must consider

(among other things) whether, under the law at the time of review, the

appellant can show (1) error that is (2) clear or obvious, see Henderson, 568 U.S.

at 277; and whether, based on “the entire record,” the appellant has established

the requisite effect on substantial rights, Greer v. United States, 593 U.S. 503,

511 (2021).

      Remanding an unpreserved claim for a district court to assess those

questions would be inconsistent with Rule 52(b), as it would allow the

defendant to rely on additional changes in law after appellate review. It would

also allow a party (here the defendant, but potentially the government in some

cases) to develop new factual or legal arguments—without shouldering its

“burden of establishing each of the four requirements for plain-error relief.”

Greer, 593 U.S. at 508.



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      To be sure, a remand may be permissible in limited circumstances for the

district court to address the prejudice prong of plain-error review. In the wake

of United States v. Booker, 543 U.S. 220 (2005), this Court concluded that, where

the first two prongs of plain-error review were satisfied, it was appropriate to

“remand to the district court to answer the question whether the sentence

would have been different had the court known that the [Sentencing]

Guidelines were advisory.” United States v. Ameline, 409 F.3d 1073, 1079 (9th

Cir. 2005) (en banc); see also Molina-Martinez v. United States, 578 U.S. 189, 204

(2016) (observing that appellate courts have “developed mechanisms short of a

full remand to determine whether a district court in fact would have imposed a

different sentence absent the error”). But to the extent this narrow exception

exists, it applies to the impact of a district court’s sentencing discretion on the

prejudice prong, not to the first two plain-error prongs. The Supreme Court’s

plain-error decisions make clear that an appellate court ordinarily may not

abdicate its responsibility under Rule 52(b) by remanding for the district court

to consider a forfeited error in the first instance.

             2.    No valid exception to Rule 52(b)’s plain-error standard
                   would permit a remand here.

      A remand might be within this Court’s discretion if Duarte’s claim fit

within a valid exception to Rule 52(b). But there is no permissible basis for

excusing non-compliance with Rule 52(b) here.
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                   a.    Rule 52(b)’s plain-error standard applies even when
                         a defendant has satisfied Rule 12(c)(3)’s “good
                         cause” standard for an untimely motion.

      The panel wrongly excused compliance with Rule 52(b) based on a

conclusion that Duarte’s forfeited claim had been foreclosed by circuit

precedent before Bruen. The panel reasoned that “when the untimely issue is a

Rule 12(b)(3) ‘defense[]’ or ‘objection[]’ to a criminal indictment, ‘Rule 12’s

good-cause standard . . . displac[es] the plain-error standard’ under Rule

52(b).” Duarte, 101 F.4th at 663 (quoting United States v. Guerrero, 921 F.3d

895, 897 (9th Cir. 2019) (per curiam)). The panel reasoned that, where a

defendant demonstrates good cause, the appellate court may consider the issue

under “whatever default standard of review would normally govern the merits,

which in this case is de novo review.” Id. The panel next concluded that

Duarte “demonstrated good cause” for his forfeiture because, at the time of

trial and sentencing, Vongxay “foreclosed the argument Duarte now makes.”

Id. (brackets and quotation omitted).

      The panel’s reasoning is wrong on multiple levels. First, the panel

misread Guerrero, which held that where a defendant fails to show good cause,

the claim is waived entirely and cannot be reviewed at all—not even for plain

error. Guerrero, 921 F.3d at 897-98. Guerrero did not suggest that where a



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defendant shows good cause, Rule 12 entirely displaces Rule 52(b) and allows

review of the unpreserved claim under a more forgiving standard.

      Second, the panel decision is wrong as a matter of textual interpretation

because it fails to give effect to both Rule 12 and Rule 52. “When confronted

with two Acts of Congress allegedly touching on the same topic, [a court] is

not at liberty to pick and choose among [them] and must instead strive to give

effect to both.” Epic Systems Corp. v. Lewis, 584 U.S. 497, 510 (2018) (quotation

omitted). That well-worn principle of statutory interpretation applies with

equal force when interpreting the Federal Rules of Criminal Procedure. Cf.

Kemp v. United States, 596 U.S. 528, 537 (2022) (applying “ordinary rules of

statutory construction” when interpreting the Federal Rules of Civil

Procedure). And Rule 12 and Rule 52(b) are readily susceptible to a

harmonious reading.

      Rule 12 states that a court (including an appellate court) “may consider”

an untimely objection “if the party shows good cause.” Fed. R. Crim. P.

12(c)(3). That instruction is entirely consistent with “consider[ing]” the

objection under Rule 52(b)’s plain-error standard. Other circuits have correctly

read these provisions harmoniously, holding that, where a defendant shows

good cause, Rule 52(b)’s plain-error standard still applies to the forfeited claim.

See United States v. Mung, 989 F.3d 639, 642 (8th Cir. 2021); United States v.

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Maez, 960 F.3d 949, 957 (7th Cir. 2020); see also United States v. Herrera, 51

F.4th 1226, 1271 (10th Cir. 2022). No other court has held, as the panel did

here, that a showing of good cause under Rule 12(c)(3) allows a defendant to

evade Rule 52(b)’s plain-error standard altogether.

      In United States v. Vonn, 535 U.S. 55 (2002), the Supreme Court rejected

a similar misreading of the Criminal Rules. The defendant there argued that

Rule 11(h)’s express inclusion of a harmless-error provision for preserved

claims that duplicates Rule 52(a) excluded by negative implication the

application of Rule 52(b)’s standard for unpreserved claims. Id. at 64. The

Court rejected that reading, observing that Rule 52 has “apparently equal

dignity with Rule 11(h)” and “appl[ies] by its terms to error in the application

of any other Rule of criminal procedure.” Id. at 65. Accepting the defendant’s

argument would “consequently amount to finding a partial repeal of Rule

52(b) by implication,” which is a disfavored result. Id. There is even less

reason to find a partial repeal of Rule 52(b) here because, unlike in Vonn, there

is no plausible argument that Rule 12(c)(3) excludes application of Rule 52(b)

under the express-inclusion canon.

      Third, the panel’s conclusion that Duarte was excused from satisfying

Rule 52(b) because his challenge was previously foreclosed by Vongxay is

irreconcilable with Greer. The defendant in Greer requested a “narrow ‘futility’

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exception to Rule 52(b),” arguing that, because every circuit had rejected his

interpretation of § 922(g)(1), “it would have been futile for him to

contemporaneously object” at the time of his plea. Greer, 593 U.S. at 511. The

Supreme Court disagreed, observing that this “proposed futility exception lacks

any support in the text of the Federal Rules of Criminal Procedure or in this

Court’s precedents.” Id. at 512. The Court further observed that “Rule 51’s

focus on a party’s opportunity to object—rather than a party’s likelihood of

prevailing on the objection—also undercuts [the defendant’s] proposed futility

exception.” Id.

      Here, the panel fashioned a futility exception that is nearly identical to

the one proposed in Greer, with the only difference being the panel’s use of

Rule 12(c)(3)’s “good cause” standard. There is no textual or logical reason

why Rule 12(c)(3) should lead to a different result. In fact, untimely motions

that “must be raised by pretrial motion” under Rule 12(b)(3) are generally

treated more harshly than other claims, such as the plea-colloquy claim in

Greer. Whereas the latter types of claims will always be subject to plain-error

review when forfeited, claims subject to Rule 12(b)(3) often get no review at all

because they are treated as waived. Guerrero, 921 F.3d at 897-98. Rule

12(c)(3) recognizes a narrow exception to that harsh rule and allows (but does

not require) a court to “consider” the claim “if the party shows good cause.”

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But under the panel’s reasoning, claims that ordinarily “must be raised by

pretrial motion” can, if foreclosed by circuit precedent, receive better treatment

than foreclosed claims that are not subject to Rule 12(b)(3)’s strictures.

Compare United States v. Keys, 133 F.3d 1282, 1284-87 (9th Cir. 1998) (en banc)

(failure to object to a jury instruction, even where an objection would be

foreclosed by circuit precedent, results in plain-error review). This Court

should not endorse such an inconsistent approach.

      Finally, the panel’s holding ignores the Supreme Court’s repeated

warnings that “[a]ny unwarranted extension of [Rule 52(b)’s] exacting

definition of plain error” would be inappropriate, United States v. Young, 470

U.S. 1, 15 (1985), and that “even less appropriate . . . would be the creation

out of whole cloth of an exception to” the rule, Johnson, 520 U.S. at 466.

Accordingly, the Supreme Court has repeatedly rejected courts of appeals’

attempts to create exceptions to Rule 52(b), whether for omissions from a plea

colloquy, Vonn, 535 U.S. at 63-66; factual claims, Davis v. United States, 589

U.S. 345, 346-47 (2020) (per curiam); or claims that were foreclosed by

precedent, Greer, 593 U.S. at 511. This Court should reject the panel’s attempt

to create another unsupported exception.




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                   b.    This Court’s exception to the plain-error standard
                         for “pure questions of law” is erroneous.

      Quite apart from the atextual exception to Rule 52(b) created by the

panel, this Court has sometimes applied de novo review to forfeited claims that

raise “a question that is purely one of law.” United States v. McAdory, 935 F.3d

838, 841-42 (9th Cir. 2019). But that exception provides no basis to excuse

compliance with the plain-error standard. As Judge Graber has explained, that

exception has no basis in Rule 52’s text or Supreme Court precedent, and the

case that first recognized the exception erroneously relied on civil cases. United

States v. Zhou, 838 F.3d 1007, 1015-16 (9th Cir. 2016) (Graber, J., concurring).

The Supreme Court itself has repeatedly applied plain-error review to pure

legal questions. See Musacchio v. United States, 577 U.S. 237, 248 (2016);

Henderson, 568 U.S. at 269-70. This Court’s rule is inconsistent with those

opinions.

      Although a panel of this Court recently concluded that the “pure

question of law” exception is not clearly irreconcilable with Supreme Court

precedent, United States v. Gomez, 115 F.4th 987, 991-92 (9th Cir. 2024), the en

banc Court is not bound by the “clearly irreconcilable” standard and should

definitively reject its “pure question of law” exception. At the very least, the

Court should decline to apply that discretionary exception here, see United

States v. Gonzalez-Aparicio, 663 F.3d 419, 426-27 (9th Cir. 2011), and should
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hold Duarte to his burden of showing plain error, as other appellate courts

have done when considering unpreserved Second Amendment challenges to

§ 922(g)(1). See, e.g., Jones, 88 F.4th at 572; United States v. Langston, 110 F.4th

408, 419 (1st Cir. 2024); United States v. Dorsey, 105 F.4th 526, 528 (3d Cir.

2024); United States v. Johnson, 95 F.4th 404, 415 (6th Cir. 2024); United States v.

Miles, 86 F.4th 734, 740 (7th Cir. 2023).

                   c.     This Court’s exception to the plain-error standard
                          for “change[s] in the law” is erroneous.

      This Court has at times suggested “an exception to the plain error rule

where the new issue arises while the appeal is pending because of a change in

the law.” United States v. Valdivias-Soto, 112 F.4th 713, 721 n.5 (9th Cir. 2024)

(quotation omitted); see United States v. Grovo, 826 F.3d 1207, 1221 n.8 (9th Cir.

2016). This “change of law” exception is irreconcilable with multiple Supreme

Court decisions, which have reviewed for plain error claims based on changes

in law that occurred between judgment and appeal. See Greer, 593 U.S. at 506-

07; Henderson, 568 U.S. at 270; Johnson, 520 U.S. at 464. Indeed, Henderson’s

holding that the “plainness” of the error should be measured at “the time of

review,” Henderson, 568 U.S. at 271-73, would make no sense if a change in

law relieves a defendant from the plain-error standard. As one panel of this

Court correctly recognized, “[p]lain error review applies on direct appeal even

where an intervening change in the law is the source of the error.” United
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States v. Christensen, 828 F.3d 763, 779 (9th Cir. 2015) (citing Johnson, 520 U.S.

at 467-68). This Court should reaffirm that correct conclusion and apply plain-

error review to Duarte’s forfeited claim, without remanding to the district

court.

                                   CONCLUSION

         This Court should affirm the district court’s judgment.

                                               Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE
      1.    This brief complies with the 8,400-word type-volume limitation in

this Court’s August 2, 2024 order because it contains 8,393 words, excluding

the parts of the brief exempted by Fed. R. App. P. 32(f).

      2.    This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because

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